MEMO0O.ENDORSED

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CALHOUN & LAWRENCE, LLP
ATTORNEYS AT LAW
81 MAIN STREET
SUITE 504
WHITE PLAINS, NEW YORK IO60!

CLINTON W. CALHOUN, Ill* (914) 946-5900
KERRY A. LAWRENCE**

FAX (914) 946-5906

REBECCA R. BROWN?**#

*ALSO ADMITTED IN VA & DC October 19, 2020

**ALSO ADMITTED IN CT

The Court grants Defendant Azeem Arif's
request and directs the Pretrial Services Dep't
to return to his passport. Defendant Arif's
BY ECF request to extend travel to include the states of
Hon. Nelson S. Roman Connecticut and New Jersey is also granted.
United States District Judge Clerk of Court requested to terminate the
United States Courthouse motions (docs. 66 and 67).

300 Quarropas St. Dated: Oct. 19, 2020
White Plains, NY 10601 = sss
SO ORDERED! >

we

Re: United States v. Azeem Arif PO oe
20 Cr. 253 (NSR) -02 io, a

 

HON. NELSON.S: ROMAN ;
Dear Judge Roman: UNITED STATES DISTRICT JUDGE.

On October 7, 2020, Your Honor sentenced Azeem Arif. As Mr. Arif is now sentenced
and has fully complied with all conditions of his pretrial release, we respectfully request that you
authorize Pretrial Services to release Mr. Arif’s passport.

Additionally, at sentencing the Court agreed to include Massachusetts and the entire State
of New York as permissible travel during Probation. Mr. Arif had previously been granted
extended travel to Connecticut and New Jersey during pretrial release and I inadvertently
neglected to ask that those two states be included for Probation as well. None of these travel
requests have ever been opposed by the Government. We request that the judgment of

 

 

conviction include these additional states.

Thank you for your consideration.

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Respectfully submitted,

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DATE F! LED: Lo hha [ze20 Kerry A. Lawrence

 

KAL/kvm

ce: AUSA Courtney Heavey (via ecf)

 
